AO 2458 (Rev . 09/19)   Judgment in a Criminal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                          Eastern District of North Carolina
                                                                            )
               UNITED ST A TES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                       )
           DOLORES MABYARLETH CARRILLO
                                                                            )
                                                                                    Case Number: 5:20-CR-231-1-M
                                                                            )
                                                                            )       USM Number: 02691 -509
                                                                            )
                                                                            )        Damon Chetson
                                                                            )       Defendant's Attorney
THE DEFENDANT:
li1 pleaded guilty to count(s)          2 of Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

T he defendant is adj ud icated guilty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended
21 U.S.C. § 841(a)(1),             Possession With Intent to Distribute 500 Grams or More of a                5/8/2019                 2
21 U.S.C. § 841(b)(1)(A)           Mixture or Substance Containing Methamphetamine and
and 18 U.S.C. § 2                  Aiding and Abetting


       The defendant is sentenced as provided in pages 2 through           _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty o n count(s)

li1 Count(s)      1 of Indictment                          51   is   Dare dismissed on the motion of the United States.

         lt is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines , restitution , costs, and special assessments imposed by this judgment are fully paid . If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            1/26/2021



                                                                        'l.k/~M'
                                                                           Signature of Judge          ~
                                                                                                            s

                                                                            RICHARD E. MYERS II , CHIEF UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge




                                                                           Date
                                                                                I   {J-, I2-1


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AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                       Sheet 2 - Impri sonment

                                                                                                   Judgment -   Page    2   of   8
 DEFENDANT: DOLORES MABYARLETH CARRILLO
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                                                          IMPRISONMENT
          The defendant is hereby comm itted to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

 Count 2: 36 months




      ~ The court makes the following recommendations to the Bureau of Prisons:
         Placement at Alderson FPC or facility close to fam ily
         Physical and mental health evaluation
         RDAP



      ~ The defendant is remanded to the custody of the United States Marshal.


      D The defendant shall surrender to the United States Marshal for this di strict:
           D at - - - - - - - - - - D a.m.                   D p.m.       on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthisjudgment.



                                                                                                 UN ITED STATES MARSHAL



                                                                         By
                                                                                              DEPUTY UN ITED STATES MARSHAL




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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                         Judgment- Page _ _ _ of
DEFENDANT: DOLORES MABYARLETH CARRILLO
CASE NUMBER: 5:20-CR-231-1-M
                                                       SUPERVISED RELEASE
Upon release from imprisonment, yo u will be on supervised release for a term of:

 Count 2: 2 years




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 D The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.    Ii'.!' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D Yo u must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were conv icted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
Yo u must comply with the standard conditions that have been adopted by th is court as well as with any other conditions on the attached
page.




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AO 2458 (Rev. 09/19)   Judgment in a Crim inal Case
                       Sheet 3A - Supervised Release
                                                                                                 Judgment- Page ----'---- of ------'~--
DEFENDANT: DOLORES MABYARLETH CARRILLO
CASE NUMBER: 5:20-CR-231-1-M

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comp ly with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. Jfyou plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at yo ur home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least l O days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If yo u are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that yo u pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction . The probation officer may contact the
       person and confirm that yo u have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the cond itions of supervision.



U.S. Probation Office Use Only
A U.S . probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date
                                                                                                                  ------------




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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3C - Supervised Release
                                                                                             Judgment-Page   _ 5_   of       8
DEFENDANT: DOLORES MABYARLETH CARRILLO
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                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 The defendant shall not incur new credit charges or open add itional lines of credit without approval of the probation office.

 The defendant shall provide the probation office with access to any requested financial information .




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AO 2458 (Rev. 09/19)   Judgment in a Crimi nal Case
                       Sheet 3D - Supervised Release
                                                                                           Judgment-Page   _ 6_    of      8
DEFENDANT: DOLORES MABYARLETH CARRILLO
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                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction , drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
 probation officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to
 determine compliance with the conditions of this judgment.

 The defendant shall participate in such vocational training program as may be directed by the probation office.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall support her dependents.




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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page _ _7
                                                                                                                                    __   of
DEFENDANT: DOLORES MABYARLETH CARRILLO
CASE NUMBER: 5:20-CR-231-1-M
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                  Restitution                  Fine                      AV AA Assessment*           JVTA Assessment**
TOTALS             $ 100.00                  $                           $                          $                           $



0     The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be
                                                         -----
      entered after such determination .

0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                     Total Loss* **                    Restitution Ordered         Priority or Percentage




TOTALS                                 $                          0.00               $                        0.00
                                                                                         ----------

0      Restitution amount ordered pursuant to plea agreement $

0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 l 2(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the            D    fine     D    restitution.

       0    the interest requirement for the         D     fine       D restitution is modified as follows :

* Amy, Vicky, and Andy Child Pornograph_y Victim Assistance Act of2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub . L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




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AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

                                                                                                            Judgment -   Page ____8__ of     8
DEFENDANT: DOLORES MABYARLETH CARRILLO
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant ' s ability to pay, payment of the total criminal monetary penalties is due as follows:

A
        •      Lump sum payment of$                              due immediately, balance due


               •    not later than                                    , or
               •    in accordance with
                                           •    C,
                                                      •    D,
                                                                •      E, or       D F below; or
B       •      Payment to begin immediately (may be combined with              •   c,     D D, or     D F below); or
C       D Payment in equal           _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                             (e.g. , months or years) , to commence
                                                                 _ _ _ __ (e. g. , 30 or 60 days) after the date of this judgment; or

D       D Payment in equal             _ _ _ _ _ (e. g. , weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                             (e. g. , months or years) , to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
               term of supervision ; or

E       D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F       liZ]   Special instructions regarding the payment of criminal monetary penalties:
               The special assessment in the amount of $100.00 shall be due in full immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D       Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                                    Joint and Several             Corresponding Payee,
        (including defendant number)                        Total Amount                         Amount                       if appropriate




D       The defendant shall pay the cost of prosecution.

D       The defendant shall pay the following court cost(s):

 i;zJ   The defendant shall forfeit the defendant' s interest in the following property to the United States:
        The defendant shall forfeit to the United States the defendant's interest in the property specified in the Preliminary Order
        of Forfeiture entered on 10/28/20 at DE# 31

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal , (oJ fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (I 0) costs, including cost of
prosecution and court costs.




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